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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-20117-CIV-ALTONAGA/Goodman

  ALEKSANDAR MAJSTOROVIC,

         Plaintiff,
  v.

  CG RYC LLC, et al.,

        Defendants.
  ________________________________/

                                              ORDER

         THIS CAUSE came before the Court sua sponte.         On March 13, 2018, Defendants, CG

  RYC, LLC; CG Miami River LLC; Food and Leverage LLC; Stephane Dupoux; and Meyer

  Chetrit, filed a Motion to Dismiss [ECF No. 13].         Under Local Rule 7.1(c), “each party

  opposing a motion shall serve an opposing memorandum of law no later than fourteen (14) days

  after service of the motion.   Failure to do so may be deemed sufficient cause for granting the

  motion by default.”     S.D. FLA. L.R. 7.1(c).     On March 30, 2018, Plaintiff, Aleksandar

  Majstorovic, filed a Motion for Enlargement of Time [ECF No. 21] informing the Court he

  intended to retain new counsel and requesting the Court extend the deadline to respond to the

  Motion to Dismiss.    On April 5, 2018, the Court entered an Order [ECF No. 27] granting the

  Motion for Enlargement of Time in part and requiring Plaintiff to retain new counsel and have

  new counsel file a response to the Motion to Dismiss by April 13, 2018.

         On April 10, 2018, counsel for Plaintiff filed a Motion to Withdraw as Counsel [ECF No.

  28]. That same day, the Court denied the Motion to Withdraw and reminded Plaintiff he has

  until April 13, 2018 to retain new counsel and respond to the Motion to Dismiss.   (See April 10,

  2018 Order [ECF No. 30]). Remarkably, new counsel has still not appeared for Plaintiff, nor

  has Plaintiff – with his current counsel – responded to the Motion to Dismiss.
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         Accordingly, it is

         ORDERED AND ADJUDGED that Defendants’ Motion to Dismiss [ECF No. 13] is

  GRANTED by default and the Complaint [ECF No. 1] is DISMISSED.                     The hearing

  scheduled for April 19, 2018 is CANCELLED. Plaintiff has until April 27, 2018 to retain new

  counsel and file an amended complaint, failing which the case will be dismissed.

         DONE AND ORDERED in Miami, Florida, this 16th day of April, 2018.



                                                        __________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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